20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 1 of
                                        18



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

         IN RE:                                         §       CHAPTER 11
                                                        §
         KRISJENN RANCH, LLC                            §       CASE NO. 20-50805-rbk
                                                        §
                                                        §
                   DEBTOR                               §          (Jointly Administered)

  KRISJENN RANCH, LLC, KRISJENN RANCH LLC, SERIES UVALDE RANCH, AND
      KRISJENN RANCH, LLC, SERIES PIPELINE ROW’S SECOND AMENDED
        SUBSTANTIVELY CONSOLIDATED PLAN OF REORGANIZATION

                                   ARTICLE I
                     SUMMARY AND SUBSTANTIVE CONSOLIDATION

     1.01 Summary

      This Second Amended Plan of Reorganization (the “Plan”) under chapter 11 of the Bankruptcy
  Code (the “Code”) proposes to substantively consolidate all three Debtors into KrisJenn Ranch,
  LLC to pay creditors of KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series Uvalde Ranch, and
  KrisJenn Ranch LLC, Series Pipeline Row (the “Debtors”) from the sale of real property and/or
  pipeline rights.

     This Plan differs from the First Amended Plan in that it accounts for Debtor KrisJenn Ranch,
  LLC Series Uvalde Ranch having sold its Uvalde Ranch and substantially paid down the debt to
  McCleod Oil. The plan provides for all creditors of the bankruptcy estate to be paid 100% of their
  Allowed claims after the Court determines the amount of fees and interest that are still owed to
  McCleod Oil.

      This Plan provides for paying real estate taxes, administrative claims, one secured class for
  the Mcleod Oil debt, and 100% of the unsecured debt.

      All creditors and equity security holders should refer to Articles IV through VI of this Plan for
  information regarding the precise treatment of their claim. A disclosure statement that provides
  more detailed information regarding this Plan and the rights of creditors and equity security holders
  has been circulated with this Plan. Generally, the plan provides as follows.

     Debtors shall pay their secured creditor, Mcleod Oil, from the sales proceeds of the Uvalde
  Ranch after an unappealable order is entered stating the amount owed McCleod.

      Except as otherwise stated, Debtors shall pay select governmental claims in equal monthly
  installments at the statutory rate of interest beginning the first day to occur 30 days after the

                                                                                                      1
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 2 of
                                        18



  effective date within 60 months of the bankruptcy filing date. The Debtors may prepay these
  claims in full in the Debtors’ business judgment. Debtors shall pay remaining governmental claims
  upon confirmation.

      DMA and Frank Daniel Moore debts related to the “Bigfoot Note” will be paid from the Court
  registry and/or from the Bigfoot Note payee in accordance with any further orders of the
  Bankruptcy court. To the extent there are not sufficient funds to pay the entire Bigfoot Note and
  court ordered attorney fees, the remaining fees shall be treated as general unsecured debts.

      Debtors shall pay general unsecured claims 100% at the federal judgment rate of interest in
  effect on the confirmation date within 120 days after a final unappealable order is entered
  determining the amount of the Mcleod claim unless there are insufficient funds from the sale in
  which case the unsecured creditors shall be paid within 12 months.

     The remaining DMA, Frank Daniel Moore, and Longbranch Energy claims are all disallowed
  pursuant to the adversary case order in 20-05027.

     Equity holders shall all retain their interests as they existed prior to the bankruptcy case filing.

         Your rights may be affected. You should read these papers carefully and discuss
  them with your attorney, if you have one. If you do not have an attorney, you may wish to
  consult one.

     1.02 Substantive Consolidation.

      The Plan proposes to substantially consolidate the assets and liabilities of all three Debtors into
  KrisJenn Ranch, LLC. The Debtors and their respective Estates shall be substantively consolidated
  for all purposes under the Plan into KrisJenn Ranch, LLC. As a result of the substantive
  consolidation, (a) all Intercompany Claims by and among the Debtors (including such Claims
  arising from rejection of an executory contract), will be eliminated; (b) any obligation of any of
  the Debtors and all guarantees thereof executed by any of the Debtors will be deemed to be an
  obligation of each of KrisJenn Ranch, LLC; (c) any Claim filed or asserted against any of the
  Debtors will be deemed a Claim against KrisJenn Ranch, LLC; (d) any Interest in any of the
  Debtors will be deemed an Interest in KrisJenn Ranch, LLC; and (e) for purposes of determining
  the availability of the right of setoff under section 553 of the Bankruptcy Code, the Debtors will
  be treated as one entity, KrisJenn Ranch, LLC, so that (subject to the other provisions of section
  553 of the Bankruptcy Code) debts due to any of the Debtors may be offset against the debts owed
  by any of the Debtors. The substantive consolidation contemplated by this section shall not affect
  or impair any valid, perfected and unavoidable Lien to which the assets of any Debtor is subject
  in the absence of substantive consolidation under the Plan, provided, however, it shall not cause
  any such Lien to secure any Claim which such Lien would not otherwise secure absent such
  substantive consolidation.



                                                                                                       2
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 3 of
                                        18



      On the Effective Date, except as otherwise provided in the Plan, all Claims based on guarantees
  of collection, payment, or performance made by any Debtor concerning the obligations of another
  Debtor shall be discharged, released, and without any further force or effect. Additionally, holders
  of Allowed Claims or Allowed Interests who assert identical Claims against or Interests in multiple
  Debtors shall be entitled to a single satisfaction of such Claims or Interests from KrisJenn Ranch,
  LLC.

      Further, on the Effective Date, the Reorganized Debtor, KrisJenn Ranch, LLC is authorized to
  execute all documents necessary to title all assets previously held by Series Uvalde Ranch or Series
  Pipeline Row into KrisJenn Ranch, LLC. KrisJenn Ranch, LLC is further authorized to wind up
  the affairs and file all necessary documents with the Texas Secretary of State and other
  governmental organizations to dissolve both series.

                                    ARTICLE II
                      CLASSIFICATION OF CLAIMS AND INTERESTS

    Class                    Description                     Impaired?        Voting?
                             Secured Claim of
    2.01. Class 1.
                             McLeod Oil, LLC                 Y                Yes
                             Claims Of DMA and
    2.02. Class 2.
                             Frank Daniel Moore              N                No
                             DMA and Longbranch
    2.03. Class 3.
                             Energy, LP Joint Claims         N                No
                             Longbranch Energy, LP
    2.04. Class 4.
                             Claims                          N                No
                             General Unsecured
    2.07. Class 5.
                             Claims                          Y                Yes
                             General Unsecured
    2.09. Class 6.           Administrative
                             Convenience Claims              N                No
                             General Unsecured
    2.10. Class 7.           Larry Wright Insider
                             Claim                           N                No

    2.11. Class 8.           Equity Holders
                                                             N                No

                                 ARTICLE III
                 TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                          AND PRIORITY TAX CLAIMS




                                                                                                    3
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 4 of
                                        18



         3.01.    Professional Fees.

      Although not classified, the professionals who have provided services to the Debtors during
  the pendency of this Chapter 11 case are entitled to administrative claim treatment. These claims
  do not include other administration priority claims allowed under 11 U.S.C. § 503. Those will be
  paid in the ordinary course as priority claims under 11 U.S.C. § 507(a) but to the extent they may
  not be paid in the ordinary course of business they are listed here. The estimated amount of such
  claims is as follows:

            Smeberg Law Firm, PLLC (Attorneys)                           $30,000

            CJ Muller & Associates                                       $190,000

            US Trustee                                                   $3,000

            Douglas Deffenbaugh CPA                                      $5,000

            Total Estimated Admin Claims                                 $228,000

            [This estimate is subject to revision; no claim for administrative claims can be paid
            absent Court approval.]

       The amount of the professional fees disclosed above is an approximate amount. It is unknown
  at this time exactly how much money will be incurred in professional fees in this Chapter 11 case.
  A final determination cannot be made until such time as the case is closed as to reasonable
  professional fees for the provision of whatever services become necessary in this Chapter 11 case.
  Any other allowed costs and expenses of administration of the Debtors’ Chapter 11 bankruptcy
  cases will also be entitled to administrative treatment. These will be paid in full at confirmation,
  less any retainers already received, after approval by the Court of said fees. The anticipated
  administrative expenses of the Debtors are moderate for a case of this size.

         3.02.   Government Claims.

             3.02.1. Unsecured Priority Claims of the Comptroller of Public Accounts and Internal
                     Revenue Service: The Texas Comptroller of Public Accounts and IRS were
                     provided notice of the bankruptcy filings but did not file claims. If the
                     Comptroller or IRS were to file allowed claims, those claims would be paid in
                     accordance with the Bankruptcy Code.

             3.02.2.      Secured Taxing Authority Claims.

                       a. Uvalde County Tax Office. The Uvalde County Tax Office filed a claim
                       for $6,451.48 in case number 20-50805. However, the claim should have been
                       filed in case number 20-51083, KrisJenn Ranch, LLC Series Uvalde Ranch.
                       The claim shall be paid in full upon sale of the Ranch. If the Ranch has not
                       been sold as of the Effective Date, then the claim shall be paid in equal monthly
                       installments at the statutory rate of interest beginning the first day to occur 30
                       days after the effective date within 60 months of the bankruptcy filing date. The

                                                                                                       4
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 5 of
                                        18



                 Debtors may prepay this claim in full in the Debtors’ business judgment. The
                 equity holders reserve the right to pay this claim as a contribution of capital to
                 the Debtors.

                 b. Guadalupe County filed a claim for $18,233.90 in case number 20-50805.
                 The claim is in regard to Larry Wright’s personal residence and does not relate
                 to any property of the estate. The claim is disallowed and to the extent
                 Guadalupe County does not withdraw the claim, Debtors will file an objection
                 to the claim.

                 c. Nacogdoches County filed a claim for $354.60 in case number 20-51083.
                 The claim shall be paid in full at confirmation. Nacogdoches County shall
                 retain all its liens until paid. This claim shall be paid in full on the Effective
                 Date.

                 d. Angelina County filed a claim for $2,198.21 in case number 20-50805.
                 However, the claim should have been filed in case number 20-51084, KrisJenn
                 Ranch, LLC Series Pipeline Row. The claim shall be paid in full upon sale of
                 the Ranch. If the Ranch has not been sold as of the Effective Date, then the
                 claim shall be paid in equal monthly installments at the statutory rate of interest
                 beginning the first day to occur 30 days after the effective date within 60 months
                 of the bankruptcy filing date. The Debtors may prepay this claim in full in the
                 Debtors’ business judgment. The equity holders reserve the right to pay this
                 claim as a contribution of capital to the Debtors.

                 e. Shelby County filed a claim for $496.67 in case number 20-50805.
                 However, the claim should have been filed in case number 20-51084, KrisJenn
                 Ranch, LLC Series Pipeline Row. The claim shall be paid in full on the
                 Effective Date. Shelby County shall retain all its liens until paid.

                  f. Except as otherwise stated, all Ad Valorem taxes will be paid in full in equal
                 monthly instalments at the statutory rate of interest within 60 months of the
                 petition filing date, with the first payment being made on the first day of the
                 first month following 30 days after the Plan’s Effective Date. Post-petition
                 interest at the rate of twelve percent (12%) per annum shall accrue beginning
                 from the Petition Date until the confirmation date. Thereafter, plan interest at
                 the rate of twelve percent (12%) per annum shall accrue on the entire balance
                 until the tax debt is paid in full. Debtors shall make separate payments on each
                 account consistent with separate amortization schedules provided to the
                 Debtors. Each separate payment which will be applied pro rata to the various
                 tax accounts indicated above. In the event Debtors sell, convey or transfer any
                 property which is collateral of a property tax claim or post confirmation tax
                 debt, the Debtors shall remit such sales proceeds first to the applicable property
                 taxing entity to be applied to the respective tax debt incident to any such
                 property/tax account sold, conveyed or transferred. Debtors may pre-pay the
                 pre-petition tax debt to any of the ad valorem taxing entities at any time. The
                 Debtors shall have thirty (30) days from the Effective Date to object to the any

                                                                                                  5
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 6 of
                                        18



                     property tax claim; otherwise, such claim is deemed as an allowed secured
                     claim in the amount of its Proof of Claim consistent with the treatment of each
                     tax account under this Plan. The taxing entity shall retain its statutory lien
                     securing their pre-petition and post-petition tax debts until such time as the tax
                     debts are paid in full.      Debtors shall pay all post-petition ad valorem tax
                     liabilities (tax year 2019 and subsequent tax years) owing to the taxing entity in
                     the ordinary course of business as such tax debts come due and prior to said ad
                     valorem taxes becoming delinquent without need of any ad valorem taxing
                     entity filing an administrative claim and request for payment. Should Debtors
                     fail to make any payments as required in its respective Plan, the taxing entity
                     shall provide written notice of that default by sending written notice by certified
                     mail to Debtors’ counsel advising of that default, and providing the Debtors
                     with a period of fifteen (15) days to cure the default. In the event that the
                     default is not cured within fifteen (15) days, the taxing entity may, without
                     further order of this Court or notice to the Debtors, pursue all of their rights and
                     remedies available to them under the Texas Property Tax Code to collect the
                     full amount of all taxes, penalties and interest owed. Additionally, the failure
                     to timely pay post-petition and/or post-confirmation taxes while the Debtors are
                     still paying any pre-petition debt, shall be considered an event of default. A
                     Debtors shall be entitled to no more than three (3) Notices of Default. In the
                     event of a fourth (4th) default, the taxing entity may pursue all rights and
                     remedies available to it under the Texas Property Tax Code in state district court
                     without further order of this court or further notice to the Debtors.


                                ARTICLE IV
              TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

         4.01    Claims and interests shall be treated as follows under this Plan:

         Class 1 Claims:

          Class 1 is the impaired secured claim of Mcleod Oil filed in the amount of $6,260,196.08
  filed in all three Debtors cases. Duplicate Claims 2,3,4 and 5 in 20-51084, Claim 6 in 20-50805,
  and Claims 2 in 20-5103. The allowed claim shall be paid as follows:

          The Class One Claims are disputed. To the extent the Claims demand payment of principal,
  interest, attorney fees, late fees and any other costs or fees in excess of the loan documents or law,
  the Debtors dispute the claim.

         To the extent the Court allows the Class 1 Claims, the Claims will be paid in full within 60
  days of the Court entering an unappealable order determining the amount of the claims including
  all sums owed pre and post-petition. To the extent Debtors, in their sole business judgment
  determine a certain amount is owed to Mcleod Oil that is less than the amount subject to an appeal,




                                                                                                       6
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 7 of
                                        18



  Debtors may pay the lessor amount while the appeal is pending without Debtors or the Mcleod’s
  waiving any rights in the appeal.

         Unless otherwise provided herein or by the Court, upon receiving payment of the allowed
  Class 1 claim, Mcleod shall release its liens against all Debtors’ property and the property of any
  guarantor.

         Mcleod shall maintain all of its liens until it is paid its allowed claim except as provided
  herein. Mcleod shall be paid post confirmation interest on its allowed and unsatisfied claim at
  4.5%.

          If the remaining sales proceeds from the Uvalde ranch are insufficient to pay the allowed
  Mcleod claim, then the remaining claim shall be paid along with the Class 5 general unsecured
  claims.

         Mcleod will vote on the plan.

         Class 2 Claims:

          Class 2 are the claims of DMA Properties, Inc. and Frank Daniel Moore (“DMA”). Claim
  5 in 20-50805, Claims 1 and 3 in 20-51083, and Claims 1 and 6 in 20-51084.

          DMA filed in all three cases and also filed as counterclaims in the adversary case 20-05027.
  The Court awarded damages and attorney’s fees which are currently subject to an appeal. After
  an unappealable order is entered establishing these amounts, DMA shall first be paid from the
  funds currently held in the state court registry. To the extent there are not sufficient funds to pay
  the claim from the state court registry, the remaining claim shall be paid as a general unsecured
  claim in Class 5. DMA and Frank Daniel Moore are unimpaired and will not vote on the plans.

         Class 3 Claims:

        Class 3 is the joint claim of DMA Properties, Inc. (“DMA”) and Longbranch Energy, LP
  (“Longbranch”). Claim 7 in 20-50805.

           DMA and Longbranch filed one joint claim related to the adversary action claiming an
  interest in the Express Pipeline and other miscellaneous relief, these claims were all denied through
  the trial. As a result, these claims are being disallowed in their entirety pursuant to the Court’s
  judgment in case 20-05027. To the extent Longbranch or DMA have filed or claimed liens
  encumbering any of Debtors’ property, those liens are void and Debtors may file a copy of the




                                                                                                     7
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 8 of
                                        18



  confirmed Plan and Confirmation order with any state or local government evidencing the liens
  have been voided.

         Class 3 is unimpaired and does not vote on the plans.

         Class 4 Claims:

         Class 4 are the claims of Longbranch Energy, LP (“Longbranch”). Claim 4 in 20-51083
  and Claim 8 in 20-51084.

          Longbranch filed claims related to the adversary action claiming an interest in the Express
  Pipeline and other miscellaneous relief. These claims were all denied through the trial. As a result,
  these claims are being disallowed in their entirety pursuant to the Court’s judgment in case 20-
  05027.

          To the extent Longbranch has filed or claimed liens encumbering any of Debtors’ property,
  those liens are void and Debtors may file a copy of the confirmed Plan and Confirmation order
  with any state or local government evidencing the liens have been voided.

         Class 4 is unimpaired and does not vote on the plans.

         Class 5 Claims:

         Class 5 is the impaired general unsecured creditor claims. This Class contains the Claim
  of Davis, Cedillo & Mendoza, Inc. (“Cedillo”) in the amount of $2,945 (filed as Claim 6 in 20-
  51084) and may include Class 1 or Class 2 creditors as described above.

          The Class 5 claims shall be paid up to their allowed claim, pro rata, from the remaining
  proceeds of the Uvalde Ranch sale after the Class 1 claim and allowed administrative claims have
  been paid in full within 120 days of the Court entering an unappealable order determining the
  amount of the Class 1 allowed claims. If there are not sufficient funds from the Uvalde Ranch sale
  to pay all general unsecured creditors in full, the Class 5 claims shall be paid within 12 months of
  the Court entering an unappealable order determining the amount of the Class 1 allowed claims.
  Cedillo shall vote on the plan as the only established Class 5 Creditor.

         Class 6 Claims:

          Class 6 are the impaired, general unsecured administrative convenience claims scheduled
  at $1,000 or less. These claims were all scheduled in Case 20-50805, but none of the creditors
  filed claims in any of the Debtors’ cases. The claimants are as follows:




                                                                                                     8
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 9 of
                                        18



                             1. C & W Fuels - $1.00

                             2. Granstaff Gaedke & Edgmon PC - $1.00

                             3. Hopper's Soft Water Service - $100.00

                             4. Medina Electric - $1.00

                             5. Texas Farm Store - $1.00

                             6. Uvalco Supply - $1.00

          The Class 6 claims shall be paid in full on the Effective Date. They are unimpaired and
  shall not vote on the plan.

         Class 7 Claims:

         Class 7 claim is the general unsecured claim of insider Larry Wright. This claim was
  scheduled in Case 20-50805 in the amount of $648,209. Additionally, Larry Wright loaned
  $129,446 to the Company

          The Class 7 claim shall be subordinated to all other claims in the bankruptcy except equity
  claims. The claim shall be paid in 120 equal monthly installments beginning the 5th year
  anniversary of the Effective Date with interest at the judgment rate of interest in effect on the
  Effective Date. The claim is deemed unimpaired and shall not vote on the plan.

         Class 8 Claims:

          Class 8 claims are the claims of Debtors’ equity holders. The equity holders shall retain
  their membership/ownership interest in each respective Debtors as that membership/ownership
  existed prior to the bankruptcy filing.

                                  ARTICLE V
                     ALLOWANCE AND DISALLOWANCE OF CLAIMS

          Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed [by a
  final non-appealable order], and as to which either: (i) a proof of claim has been filed or deemed
  filed, and the Debtors or another party in interest has filed an objection; or (ii) no proof of claim
  has been filed, and the Debtors have scheduled such claim as disputed, contingent, or unliquidated.




                                                                                                     9
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 10
                                      of 18



 Debtors shall file all objections to claims within 60 days of the Confirmation Date except as
 provided for in the Disclosure Statement or herein.

         Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
 disputed claim unless such claim is allowed by a final non-appealable order or otherwise provided
 herein.

        Settlement of Disputed Claims. The Debtors will have the power and authority to settle
 and compromise a disputed claim with court approval and compliance with Rule 9019 of the
 Federal Rules of Bankruptcy Procedure.

         Disputed claims are not permitted to vote on Debtors’ plan absent approval of the Court to
 vote after hearing but disputed claimants may file objections to the disclosure statement and plan.

         The Debtors’ adversary filing in case 20-05027 is deemed to be an objection to the
 claims of DMA Properties, Inc., Longbranch Energy, LP, and Frank Daniel Moore, which was
 decided by Court Judgment. Debtors contend that the Court’s judgment in the 20-05027 adversary
 resolves all issues regarding the claims of DMA Properties, Inc., Longbranch Energy, LP, and
 Frank Daniel Moore and have found that none of these parties have a secured interest in any of
 Debtors’ assets except the Bigfoot note as discussed in the disclosure statement. The Debtors
 reserve the right to have the Bankruptcy Court clarify these issues both in the Confirmation Order
 and in future proceedings if needed.

 Retention of Jurisdiction.

        The Court will retain jurisdiction as set out in the Plan.

 Interests Retained by the Debtors.

         The Debtors are retaining their current ownership interests in their real and personal
 property, subject to the secured and unsecured claims of its creditors. Debtors retains any and all
 claims or causes of action against any person or entity: (i) to avoid, set aside, or recover any
 payment or other transfer made to any person or entity under Section 547, 548, 549, and/or 550 of
 the Bankruptcy Code, (ii) to avoid, set aside, or recover any payment or other transfer made to any
 person or entity under any applicable State law(s), (iii) to avoid or set aside any Interest of a person
 or entity in property under Section 544 of the Bankruptcy Code; (iv) to recover damages against
 an officer, director, manager, shareholder, member, or insider for breach of their duties to the
 Debtor or their creditors accruing pre or post-bankruptcy filing; (v) to recover damages for any
 and all legal or equitable claims against their owners, managers, officers, employees, lawyers,
 employees or any other person, including but not limited to claims for breach of contract,
 promissory estoppel, conversion, fraud, breach of fiduciary duty, tortious interference, conversion,
 defamation, or any other cause of action, regardless of whether the action accrued prior to or after
 the bankruptcy filing date.

                                               ARTICLE VI

                                                                                                      10
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 11
                                      of 18



                    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         The Debtors are rejecting all prepetition executory contracts not specifically assumed by
 court order or as indicated below. Debtors believe all the organizational agreements within their
 business entities are not executory; however, to the extent they are found executory, Debtors
 assume those agreements.

     Unless the time to file a claim for rejections damages is specifically limited herein or by other
 court order, rejections damages must be filed no later than 30 days after the effective date of the
 plan.

                                   ARTICLE VII
                      MEANS FOR IMPLEMENTATION OF THE PLAN

          7.01 Continued Corporate Existence. The Debtors shall continue to exist after the
 Effective Date as their respective Texas entities, with all the powers of a corporation, partnership,
 or limited liability company, as applicable, under applicable law and without prejudice to any right
 to alter or terminate such existence (whether by merger or otherwise) under applicable state law.

         7.02 Advance Payment of Claims. Provided Debtors stay current on all payments to
 creditors pursuant to the Plan, Debtors may make advance payments on claims in Debtors’
 business judgment discretion.

         7.03 Release of the Pipeline Right of Way (ROW). At the Request of the Reorganized
 Debtors, any time after Confirmation, and after notice and hearing, if the Court determines there
 are sufficient funds to pay any reasonably potential allowed Class 1 Claim, the Court may order
 any Class 1 lien released from the ROW provided such funds are deposited into the registry of the
 Court or the Reorganized Debtor files a super cedes bond in an amount necessary to satisfy any
 reasonably potential allowed Class 1 Claim.

        7.04 Payments due under the plan shall come from the remaining Uvalde Ranch
 proceeds, then monetization of the Pipeline ROW, then sale of the Thunder Rock Holdings.

                                       ARTICLE VIII
                                    GENERAL PROVISIONS

        8.01      Definitions and Rules of Construction. The definitions and rules of construction
                  set forth in §§ 101 and 102 of the Code shall apply when terms defined or
                  construed in the Code are used in this Plan, and they are supplemented by the
                  following definitions:

        8.01.1    Administrative Claim shall mean any Claim that is defined in Section 503(b) of
                  the Bankruptcy Code as being an “administrative expense” within the meaning of

                                                                                                   11
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 12
                                      of 18



                such section and referenced in Bankruptcy Code Section 507(a)(1) including,
                without limitation, the actual necessary costs and expenses of preserving the
                Debtors’ estates and operating the business of the Debtors, including wages,
                salaries, or commissions for services rendered after the commencement of the
                case, compensation for legal and other services and reimbursement of expenses.
                Allowed or awarded under Bankruptcy Code Sections 33(a) or 331, and all fees
                and charges assessed against the estate of the Debtors under title 28 of the United
                States Code

       8.01.2   Allowed Claim or Allowed Interest shall mean a Claim or Interest (a) in respect
                of which a proof of claim or application has been filed with the Bankruptcy Court
                within the applicable period of limitation fixed by Bankruptcy Rule 3001 or (b)
                scheduled in the list of Creditors prepared and filed with the Bankruptcy Court
                pursuant to Bankruptcy Rule 1007(b) and not listed as Disputed Claims or
                contingent or liquidated as to amount, in either case as to which no objection to
                the allowance thereof has been interposed within any applicable period of
                limitation fixed by Bankruptcy rule 3001 or an order of the Bankruptcy Court, or
                this Plan, or as to which any such objection has been determined by an order or
                judgment which is no longer subject to appeal or certiorari proceeding and as to
                which no appeal or certiorari proceedings is pending or as otherwise allowed
                under this Plan. An Allowed Claim may refer to a Secured Claim, a General
                Unsecured Claim, an Administrative Claim or a Priority Claim as the context
                provides.

       8.01.3   Avoidance Actions shall mean those causes of action provided for under Sections
                547 to 551 of the Bankruptcy Code, causes of action under applicable non-
                bankruptcy law for fraudulent transfer or similar legal theories.

       8.01.4   Bankruptcy Code shall mean the Bankruptcy Code, 11 U.S.C. §101 et seq., as it
                existed on the Filing Date

       8.01.5   Bankruptcy Court shall mean the United States Bankruptcy Court for the Western
                District of Texas, San Antonio Division, in which the Debtors’ Chapter 11 case,
                pursuant to which the Plan is proposed, is pending, and any Court having
                competent jurisdiction to hear appeals or certiorari proceedings therefrom.

       8.01.6   Bankruptcy Estate or Estates shall mean all of the assets owned by the Debtors
                and their respective estates.

       8.01.7   Cash shall mean Cash and Cash equivalents including, without limitation, checks
                and wire transfers.

       8.01.8   Claim shall have the meaning given in Section 101 of the Bankruptcy Code, to
                wit, any right to payment, or right to an equitable remedy for breach of
                performance if such breach gives rise to a right to payment, against the Debtors
                in existence on or before the Filing Date, whether or not such right to payment or

                                                                                                12
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 13
                                      of 18



                right to equitable remedy is reduced to judgment, liquidated, unliquidated, fixed,
                contingent, matured, unmatured, disputed, undisputed, legal, legal, secured or
                unsecured whether or not asserted.

       8.01.9   Class shall mean any class into which Allowed Claims or Allowed Interests are
                classified pursuant to Article 4.

       8.01.10 Confirmation Date shall mean the date upon which the Confirmation Order is
               entered by the Clerk of the Bankruptcy Court.

       8.01.11 Confirmation Hearing shall mean the hearing held by the Bankruptcy Court to
               consider confirmation of the Plan.

       8.01.12 Confirmation Order shall mean the order entered by the Bankruptcy Court
               confirming this Plan in accordance with the provisions of Chapter 11 of the
               Bankruptcy Code.

       8.01.13 Creditor shall mean any entity holding a Claim.

       8.01.14 Debtors shall mean KrisJenn Ranch, LLC, KrisJenn Ranch LLC, Series
               Uvalde Ranch, and KrisJenn Ranch LLC, Series Pipeline Row

       8.01.15 Disbursing Agent shall mean KrisJenn Ranch, LLC.

       8.01.16 Disclosure Statement shall mean the written document filed by the Debtors in
               accordance with Section 1125(b) of the Bankruptcy Code containing information
               sufficient to enable a hypothetical reasonable investor typical of Holders of
               Claims or Interests of the relevant Class to make an informed judgment about this
               Plan.

       8.01.17 Disallowed Claim shall mean any Claim or portion thereof which has been
               disallowed by a Final Order and includes any Claim which is not an Allowed
               Claim for any other reason.

       8.01.18 Disputed Claim shall mean that portion (including, where appropriate, the whole)
               or any Claim (other than an Allowed Claim) that (a) is listed in Debtors’
               schedules of liabilities as disputed, contingent, or unliquidated; (b) is listed in the
               Debtors’ schedules of liabilities and as to which a proof of Claim has been filed
               with the Bankruptcy Court, to the extent the proof of Claim exceeds the scheduled
               amount; (c) is not listed in the Debtors’ schedules of liabilities, but as to which a
               proof of Claim has been filed with the Bankruptcy Court; or (d) as to which an
               objection has been filed and has not become an Allowed Claim.

       8.01.19 Effective Date shall mean the later of 30 days after entry of a Final Order
               confirming Debtors’ plan of reorganization.



                                                                                                   13
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 14
                                      of 18



       8.01.20 Equity Interest shall mean the interests represented by an “equity security” as
               defined in Section 101 of the Bankruptcy Code.

       8.01.21 Executory Contracts shall mean any Pre-petition Unexpired Lease(s) or executor
               contract(s) of the Debtors within the meaning of Section 365 of the Bankruptcy
               Code.

       8.01.22 Filing Date shall mean the date Debtors filed their voluntary petition under
               Chapter 11 of the Bankruptcy Code.

       8.01.23 Final Order shall mean an order or judgment of a Court which has become final
               in accordance with law, and which has not been stayed pending appeal.

       8.01.24 General Unsecured Claim shall mean either (i) a Claim that is not secured by a
               lien, security interest or other charge against or interest in property in which
               Debtors has an interest or which is not subject to setoff under Section 553 of the
               Bankruptcy Code; (ii) a Claim that is not a Secured Claim; (iii) a claim that is not
               an Administrative Claim; (iv) a Claim that is not a Priority Claim; or (v) a Claim
               that is not otherwise entitled to priority under Bankruptcy Code Sections 503 or
               507.

       8.01.25 Holder shall mean the owner or Holder of any Claim or Interest.

       8.01.26 Interest shall mean an Interest (a) in respect to which a proof of interest has been
               filed with the Bankruptcy Court within the applicable period of limitation fixed
               by Bankruptcy Rule 3001 or (b) scheduled in the list of Equity Security Holders
               prepared and filed with the Bankruptcy Court pursuant to Bankruptcy Rule
               1007(b).

       8.01.27 Insider has the definition ascribed to it under the Bankruptcy Code.

       8.01.28 Lien shall mean a “lien” as defined in Section 101(37) of the Bankruptcy Code.

       8.01.29 Net Proceeds shall mean, any cash recovery, the funds remaining after a final
               judgment on an Avoidance Action, net of all legal fees (and/or contingency legal
               fees), costs and expenses of suit. The Net Proceeds, for any non-cash recovery,
               is the amount of cash remaining after the final judgment and recovery of non-
               cash asset is liquidated and the cash proceeds are distributed net of all legal fees,
               costs and expenses of suit. Compromises of Avoidance Actions may include cash
               or benefits to the Debtors or Reorganized Debtors and are not Net Proceeds.

       8.01.30 Person shall mean an individual, corporation, partnership, joint venture, trust,
               estate, unincorporated organization, or a government or any agency or political
               subdivision thereof.




                                                                                                 14
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 15
                                      of 18



        8.01.31 Plan shall mean this Chapter 11 Plan, as altered, modified or amended in
                accordance with the terms hereof in accordance with the Bankruptcy Code, the
                Bankruptcy Rules and this Plan.

        8.01.32 Priority Tax Claims shall mean any claim that is defined in Section 507(a)(8) of
                the Bankruptcy Code.

        8.01.33 Professionals shall mean all professional employed in this case pursuant to
                Section 327 or 1103 of the Bankruptcy Code.

        8.01.34 Pro-Rata shall mean the proportion that the Allowed amount of such Claim bears
                to the aggregate amount of Claims in each respective Class.

        8.01.35 Secured Claim shall mean a claim secured by a lien, security interest or other
                charge against or interest in property in which the Debtors has an interest, or
                which is subject to setoff under Section 553 of the Bankruptcy Code, to the extent
                of the value (determined in accordance with Section 506(a) of the Bankruptcy
                Code) of the interest of the Holder of such Claim in the Debtors’ interest in such
                property or to the extent of the amount subject to such setoff, as the case may be.

        8.01.37 Severability. If any provision in this Plan is determined to be unenforceable, the
                determination will in no way limit or affect the enforceability and operative effect
                of any other provision of this Plan.

        8.01.38 Binding Effect. The rights and obligations of any entity named or referred to in
                this Plan will be binding upon, and will inure to the benefit of the successors or
                assigns of such entity.

        8.01.39 Captions. The headings contained in this Plan are for convenience of reference
                only and do not affect the meaning or interpretation of this Plan.

        8.01.40 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
                (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of
                the State of Texas govern this Plan and any agreements, documents, and
                instruments executed in connection with this Plan, except as otherwise provided
                in this Plan.


                                   ARTICLE IX
                      DISCHARGE AND EFFECT OF CONFIRMATION

         9.01 Legally Binding Effect. The provisions of this Plan shall bind all Creditors and
  Interest Holders, whether or not they accept this Plan. On and after the Effective Date, all holders
  of Claims shall be precluded and forever enjoined from asserting any (i) Claim against the
  Debtors based on any transaction or other activity of any kind that occurred prior to the
  Confirmation Date except as permitted under the Plan; and (ii) derivative claims, including
                                                                                                    15
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 16
                                      of 18



  claims against third parties asserting alter ego claims, fraudulent transfer claims, or any type of
  successor liability based on acts or omissions of the Debtors. Notwithstanding this provision,
  any derivative claims against third parties shall only be enjoined as follows:

       A.    No Creditor of the Debtors shall be permitted to collect upon any Claims in
 any manner other than as provided for in the Plan.

         B.      Affiliate Injunction. A temporary injunction is hereby entered and shall be in
  effect as of the Effective Date, prohibiting the commencement or continuation of any action
  or proceeding against any affiliate, responsible person, guarantor, officer or director of the
  Debtors that otherwise would be liable to such holder of a Claim for payment of such Claim
  for any reason whatsoever, or against the property of any of the foregoing persons, so long
  as the Reorganized Debtors are not in default of the payment terms of such Claim as
  provided herein. Further, the statute of limitations against any guarantor is suspended
  during the period the Plan payments are not in default. Notwithstanding the foregoing,
  these provisions shall not affect the “responsible person” liability as defined by the
  internal revenue code and applicable to the allowed claim of the Internal Revenue Service.

           9.02 Injunction. The entry of the Confirmation Order will operate as a general resolution
  with prejudice, as of the Effective Date, of all pending Legal Proceedings, if any, against the
  Debtors and their assets and properties and any proceedings not yet instituted against the Debtors
  or their assets, except as otherwise provided in the Plan. Except as otherwise expressly provided
  in the Plan or the Confirmation Order, all Persons who have held, may have held, hold, or may
  hold Claims against the Debtors are permanently enjoined on and after the Effective Date from
  (a) commencing or continuing in any manner any action or other proceeding of any kind against
  the Debtors or their property, with respect to any such Claim, (b) the enforcement, attachment,
  collection or recovery by any manner or means of any judgment, award, decree or order with
  respect to any such Claim against the Debtors or their property, (c) creating, perfecting, or
  enforcing any encumbrance of any kind against the Debtors or their property, with respect to
  such Claim, (d) asserting any right of subrogation of any kind against any obligation due to the
  Debtors or the property of the Debtors or the Estates with respect to any such Claim and (e)
  asserting any right of setoff or recoupment against the Debtors or the Estates except as
  specifically permitted by § 553 of the Bankruptcy Code. Unless otherwise provided in the Plan
  or by order of the Bankruptcy Court, all injunctions or automatic stays provided for in these cases
  pursuant to § 105, if any, or § 362 of the Bankruptcy Code, or otherwise, and in existence on
  the Confirmation Date will remain in full force and effect until the Effective Date.

         9.03 Limited Protection of Certain Parties in Interest Neither (a) the Debtors, or any of
  their respective employees, officers, directors, agents, representatives, affiliates, attorneys,
  financial advisors, or any other professional persons employed by the Debtors, nor (b) each
  Professional for the Debtors or any of their employees, officers, directors, agents,

                                                                                                   16
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 17
                                      of 18



  representatives, affiliates, attorneys, financial advisors, or any other professional persons
  employed by any of them, (the persons identified in (a) and (b), are collectively referred to as
  “Protected Persons”), shall have or incur any liability to any Person or Entity under any theory
  of liability for any act or omission occurring on or after the Petition Date in connection with or
  related to the Debtors, the Chapter 11 Case, or the Estate, including, but not limited to, (i)
  formulating, preparing disseminating, implementing, confirming, consummating or
  administering this Plan (including soliciting acceptances or rejections thereof); or (ii) the
  Disclosure Statement or any contract, instrument, release or other agreement or document
  entered into or any action taken or omitted to be taken in connection with this Plan, except
  for acts constituting willful misconduct, gross negligence, or ultra vires activity and in all
  respects such Protected Persons shall be entitled to rely in good faith upon the advice of counsel.
  In any action, suit or Legal Proceeding by any Person contesting any action by, or non-action
  of any Protected Person as constituting willful misconduct, gross negligence, or ultra vires
  activity or not being in good faith, the reasonable attorneys’ fees and costs of the prevailing
  party will be paid by the losing party and as a condition to going forward with such action, suit,
  or Legal Proceeding at the outset thereof, all parties thereto will be required to provide
  appropriate proof and assurances of their capacity to make such payments of reasonable
  attorneys’ fees and costs in the event they fail to prevail.

     9.04 Continuation of Anti-Discrimination Provisions of Bankruptcy Code. A Governmental
 Unit may not deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
 other similar grant to, condition such a grant to, or discriminate with respect to such a grant
 against, the Debtors, or another Person with whom the Debtors have been or are associated or
 affiliated, solely because of the commencement, continuation, or termination of the case or
 because of any provision of the Plan or the legal effect of the Plan, and the Confirmation Order
 will constitute an express injunction against any such discriminatory treatment by a Governmental
 Unit.

                                          ARTICLE X
                                       OTHER PROVISIONS

                                              DEFAULT

     10.01. Default. Upon default by the Debtors, creditors are required to provide written notice
 of such Default to the Debtors and their counsel, The Smeberg Law Firm, PLLC by certified mail,
 return receipt requested, and by regular first-class mail, and the Debtors shall have thirty (30) days
 from the date of the notice to cure the default. Any defect in such default notice shall toll the
 running of the thirty (30) day cure period. Notice of default shall be given to the Debtors and
 Ronald Smeberg. If the Debtors fail to cure within the thirty (30) day cure period provided herein,
 creditors shall be allowed to foreclose their liens without further notice of hearing before the Court.
 The Debtors shall be entitled to three (3) notices of default for each calendar year. On the fourth
 (4th) notice of default for a calendar year, creditors shall be allowed to foreclose their liens without


                                                                                                      17
20-50805-rbk Doc#154 Filed 09/28/21 Entered 09/28/21 21:25:38 Main Document Pg 18
                                      of 18



 further notice of hearing before the Court, or move to have the case converted to a case under
 Chapter 7.

     10.02. Vesting of Estate Property and Effect of Default. On the Effective Date, title to all
 assets and properties dealt with by the Plan shall vest in KrisJenn Ranch, LLC, Reorganized
 Debtor, free and clear of all Claims and Interests other than any contractual secured claims granted
 under any lending agreement, on the condition that Reorganized Debtor comply with the terms of
 the Plan, including the making of all payments to creditors provided for in such Plan. If
 Reorganized Debtor defaults in performing under the provisions of this Plan and this case is
 converted to a case under chapter 7, all property vested in KrisJenn Ranch, LLC and all
 subsequently acquired property owned as of or after the conversion date shall re-vest and constitute
 property of the bankruptcy estate in the converted case.


                                               Respectfully submitted,

                                               BY: /s/ Larry Wright        _________
                                               Name: Larry Wright, Manager, KrisJenn Ranch,
                                               LLC, KrisJenn Ranch, LLC Series Uvalde Ranch,
                                               KrisJenn Ranch, LLC Series Pipeline Row.

                                               THE SMEBERG LAW FIRM, PLLC

                                               BY:/s/ Ronald J. Smeberg____________
                                               Ronald J. Smeberg
                                               4 Imperial Oaks
                                               San Antonio, Texas 78248
                                               Tel: (210) 695-6684
                                               Fax: (210) 598-7357
                                               ATTORNEY FOR DEBTORS




                                                                                                  18
